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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11
     SEAN MAURICE ROBINSON,            ) No. 2:21-cv-00159-MWF-JDE
12                                     )
                                       )
13                     Petitioner,     ) JUDGMENT
                                       )
14                v.                   )
                                       )
15   PATRICIA BRADLEY,                 )
                                       )
16                     Respondent.     )
                                       )
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17                                     )
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19         Pursuant to the Order Re Summary Dismissal of Action,
20         IT IS ADJUDGED that the petition is denied and this action is
21   dismissed without prejudice.
22
23   Dated: January 11, 2021
24                                            ______________________________
                                              MICHAEL W. FITZGERALD
25                                            United States District Judge
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